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 6 Attorneys for Defendants, DGL Group, Ltd.
   and Amazon. Com Services LLC
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 8
 9                           IN THE UNITED STATES DISTRICT COURT
10                                FOR THE DISTRICT OF NEVADA

11   JASON HART,
                                                          CASE NO. 2:22-cv-01456-JCM-EJY
12                  Plaintiff,
13   vs.
14                                                   STIPULATION AND ORDER DISMISSING
   DGL GROUP, LTD., a New Jersey                        PLAINTIFF'S WAGE LOSS CLAIM
15 Corporation; AMAZON.COM SERVICES,
   LLC, a Delaware Corporation; and ROE
16 CORPORATIONS I through X, inclusive,
17                  Defendants.
18          IT IS HEREBY STIPULATED AND AGREED by and between the parties hereto that
19   Plaintiff JASON HART'S past and future wage loss claim, including any related claims for loss
20   of earnings and loss of earning capacity, may be dismissed, with prejudice, from the above-
21   entitled cause of action.
22          DATED this 30th day of November, 2022.
23   THORNDAL, ARMSTRONG, DELK,                    GERALD I. GILLOCK & ASSOCIATES
     BALKENBUSH & EISINGER
24
25   By: Isl Kevin Diamond, Esq.                   By: Isl Alexander Smith. Esq.
       KEVIN R. DIAMOND, ESQ.                          ALEXANDER SMITH, ESQ.
26     Nevada Bar No. 4967                             Nevada Bar No. 15484
27      1100 E. Bridger A venue                        428 South Fourth Street
       Las Vegas, Nevada 8910 I                        Las Vegas, Nevada 89101
28      Attorneys for Defendants                       Attorney for Plaintiff

                                                    Page 1 of2
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 1   [Stipulation and Order Dismissing Plaintiffs Wage Loss Claim/ 2:22-cv-01456-JCM-EJY]
 2
 3                                               ORDER
 4          IT IS HEREBY ORDERED that Plaintiff JASON HART'S past and future wage loss
 5   claim, including any related claims for loss of earnings and loss of earning capacity, is dismissed
 6   with prejudice, from the above-entitled cause of action.
 7           DATED December 2, 2022.

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 9                                                �J                e.. ;lvJJ1av._
                                                  �5TRICT COURT JUDGE
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11
12   Submitted by:
13   THORNDAL, ARMSTRONG, DELK,
     BALKENBUSH & EISINGER
14
15
16   By: Isl Kevin Diamond, Esq.
      KEVIN R. DIAMOND, ESQ.
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19    Attorneys for Defendants
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Salli A. Phillips
From:                      Alex Smith <asmith@gmk-law.com>
Sent:                      Tuesday, November 29, 2022 3:48 PM
To:                        Kevin R. Diamond; Salli A. Phillips
Cc:                        Jillian L. Lukens; Gaby Chavez; Erika Muniz; Michael Coggeshall
Subject:                   RE: DGLJHart wage stip


Hi Kevin,

Yes, you may. I have run this past Mr. Hart and he grants permission to waive any "past and future wage loss
claim, including any related claims for loss of earnings and loss of earning capacity[] ...with prejudice." You
have my permission to affix my electronic signature. Please can you change the details below my electronic
signature to:

        ALEXANDER SMITH, Esq.
        Nevada Bar No. 15484
        428 South Fourth Street
        Las Vegas, Nevada 89101

        Attorneyfor Plaintiff

Thank you, Kevin.

Alex

From: Kevin R. Diamond <KRD@thorndal.com>
Sent: Tuesday, November 29, 2022 2:39 PM
To: Alex Smith <asmith@gmk-law.com>; Salli A. Phillips <SAP@thorndal.com>
Cc: Jillian L. Lukens <jlukens@mlllaw.com>
Subject: FW: DGL/Hart wage stip

Alex,

May we affix your signature to the attached stipulation?

Kevin

From: Salli A. Phillips <SAP@thorndal.com>
Sent: Tuesday, November 29, 2022 9:16 AM
To: Kevin R. Diamond <KRD@thorndal.com>
Subject: RE: DGL/Hart

See attached



Kevin Diamond I Shareholder I Thorndal Armstrong Delk Balkenbush & Eisinger
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